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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   BENJAMIN GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JOHN PHILLIP PRUITT
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,           ) No. CR-S-08-103 LKK
                                         )
13                   Plaintiff,          )
                                         ) ORDER AFTER HEARING
14        v.                             )
                                         )
15   JOHN PHILLIP PRUITT,                )
     DARRYL ANTHONY BERG,                )
16                                       ) Judge: Hon. Lawrence K. Karlton
                     Defendant.          )
17                                       )
     _______________________________
18
19        This matter came before the Court for Status Conference on
20   December 16, 2008, in the courtroom of the Honorable Lawrence K.
21   Karlton, U.S. District Court Judge.       The government was represented by
22   its counsel, Assistant United States Attorney Michael Beckwith. Pro se
23   defendant John Phillip Pruitt was present in custody. Defendant Darryl
24   Anthony Berg was present out of custody, and was represented by
25   counsel, John Balazs.    The court granted Pruitt’s request that the
26   Federal Defender be reappointed to represent him and relieved stand-by
27   counsel Michael Bigelow.     Chief Assistant Federal Defender Linda Harter
28   accepted the appointment for the Federal Defender and stated that the
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 1   case would be assigned to Assistant Federal Defender Benjamin Galloway.
 2       Defense counsel requested that the matter be set for further
 3   status conference on January 21, 2009 at 9:15 a.m.
 4        The parties agreed on the need for additional time to allow time
 5   for appointment of new counsel and defense preparation.
 6        IT IS HEREBY ORDERED that this matter be set for further Status
 7   Conference on January 21, 2009 at 9:15 a.m..
 8        IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161(h)(8)(B)
 9   (iv) [reasonable time to prepare] (Local Code T4), the period from
10   December 16, 2008 to and including January 21, 2009 is excluded from
11   the time computations required by the Speedy Trial Act due to ongoing
12   preparation of counsel.
13   DATED: December 18, 2008
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